Case 2:18-cV-00667-GI\/|N-GWF Document 1-1 Filed 04/13/18 Page 1 of 14

WHITEHEAD & BURNETT

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Attorneysfor Manish Patel

IN THE EIGHTH JUDICIAL DISTRICT COUR'I`

CLARK COUNTY NEVADA
MANISH PATEL, an individual Case No.: A-18-770401-C
Plaintiff, Dept. No.: Depanment 16
v.
COMPLAlNT FOR DAMAGES

AMER_ICAN NATIONAL PROPERTY AND (EXEMPT FROM ARBITRATION
CASUALTY COMPANY, a Foreign Entity; EQUITABLE RELIEF)
DOES 1 through 10; and ROE
CORPORATIONS 1 through 10, inclusive,

Defendant( s).

 

 

MANISH PATEL by and through his counsel of record, Jeffrey J. Whitehead, Esq., of the
law offices of WHITEHEAD & BURNETT, and for his causes of action against the above named
Defendant, each of them hereby complains as follows:

NA'I`URE OF 'I`HE ACTION

ln this action, Plaintiff, MANISH PATEL, assert claims for Breach of Contract, Breach of
the Covent of Good Faith and Fair Dealing and violation of NRS § 686(A).310. Plaintiff is
seeking compensatory damages and punitive damages, as Well as, attorneys’ fees and costs.

Plaintiff states as follows, upon actual knowledge With respect to themselves and their OWn
acts, and upon information and belief as to all other matters.

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Case Number: A-18-770401-C

 

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PARTIES JURISDICTION VENUE
1. MANISH PATEL (hereinafter referred to as “PATEL") is a resident of the City of Las
Vegas, County of Clark, State of Nevada.
2. AMERICAN NATIONAL PROPERTY AND CASUALTY COMPANY (hereinafter
referred to as “ANPAC"), is a foreign entity authorized to sell insurance within the County of
Clark, State of Nevada.
3. The Insured Lucation which is the subject of this instant action is 5645 North Juliano
Rd., Las Vegas, Nevada 89149.
4. That the incidents, transactions and occurrences that comprise the basis of this lawsuit
took place in the State of Nevada, County of Clark.
5 . That the venue is proper in the Eighth Judicial District Court, Clark County, Nevada.
6. That the true names or capacities, whether individual, corporate, association or otherwise,
of Defendants DOES 1 through 10, and ROE CORPORATIONS l through 10, are unknown to
Plaintiff, who therefore sue said Defendants by such fictitious names; Plaintiff is informed and
believe and therefore allege that each of the Defendants designated herein as a DOE and ROE
CORPORATIONS are responsible in some manner for the events and happenings referred to
and caused damages proximately to the Plaintiff as herein alleged, and that Plaintiff will ask
leave of this Court to amend his Complaint to insert the true names and capacities of DOES 1
through 10 and ROE CORPORATIONS 1 through 10, when the same have been ascertained
and to join such Defendants in this action.

STATEMENT OF THE FACTS

7. On or about January 18, 2017, PATEL contracted for and paid for a homeowner’s
insurance policy with ANPAC (The “Policy”). The Policy specifically confirmed: $491,100 in
coverage for the respective dwelling, $49,100 in coverage for other structures, $368,330 in
unscheduled personal property damage, and $122,775 for loss ofuse, in addition to other coverage
for all items contained in and on the property commonly known as: 5645 North Juliano Rd., Las

Vegas, Nevada 89149.

 

 

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8. On or about March 3, 2017, the septic tank backed up and flooded PATEL’s residence
The flood was a category three water loss, which could contain bacteria and infectious diseases
9. On March 6, 2017 PATEL filed an insurance claim with ANPAC and received the
following claim Number: 27-H-3FL031.
10. ANPAC’s Policy confirmed that ANPAC would pay for accidental direct physical loss to
your dwelling and other structures unless an exclusion applies.
11. PATEL reported all the loss and damaged items to ANPAC and provided them with
accurate costs of replacement
12. ANPAC in bad faith and without a good faith basis denied compensation for the property
that was damaged as described on the attached Exhibit "l and ANPAC has failed to pay for any
loss of use, despite due and proper demand

13. PATEL made demand for coverage on these items and provided proof that these items

should be covered under the horne owners’ insurance policy but ANPAC continue to act in bad

faith and deny coverage.

CAUSES OF ACTION
FIRST CAUSE OF ACTION
(Breach of Contract)

14. - Plaintiff incorporates all previously alleged paragraphs as though alleged full herein.

15. PATEL and ANPAC entered into a valid contract in which PATEL would make regular
premium payments and ANPAC would provide him with horne owners’ Insurance for the items
contained in side the subject residence.

16. On or about November 20, 2017 and again on February 28, 2018, Plaintiff made demand
to ANPAC for the value of the items which where reported damaged and destroyed.

l7. As of the date of filing this Complaint, Defendant has failed to pay any amounts to Plaintiff

for the losses claimed.

18. A contract exists between Plaintiff and Defendant.
19. Plaintiff has performed all of the conditions of the contract required to be performed on
his part.

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20. Implied within the contract is an obligation by Defendant to timely tender the insurance
proceeds to Plaintiff and to promptly, fairly and equitably process any claim.
21. Without legal excuse or justification, Defendant breached the contract by failing to pay
PATEL’S claims due and owing any by failing to promptly, fairly, and equitably process
Plaintiff s claim.
22. As a proximate cause and foreseeable result of ANPAC’s breaches, PATEL has suffered
general and special damages in excess of $10,000.
23. As a result of ANPAC’ breaches, PATEL has been required to retain an attorney and is
entitled to such attorney fees and costs.
SECOND CAUSE OF ACTION

(Breach of the Implied Covenant of Good Faith and Fair Dealing)
24. Plaintiff incorporates all previously alleged paragraphs as though alleged full herein.
25. There is an implied covenant of good faith and fair dealing in the contract that Defendants,
and each of them, will do anything to injure the rights of the Plaintiff to obtain benefits due and
owing under the contract. Consistent with the duty of good faith and fair dealing, an implied
obligation exists that Defendants would promptly, fairly, and equitable process any claim by
Plaintiff for loss covered under the subject insurance policy.
26. By failing to reasonably investigate Plaintiff s claim; by failing to promptly settle and
process Plaintiff"s claim; by forcing Plaintiff to file suit to obtain their benefits; by failing to keep
Plaintiff’s reasonably informed regarding the developments of his claim; by failing to timely
respond to Plaintiff’ s inquiries; by unreasonably Withholding insurance benefits; by creating false
issues, by placing its interests ahead of its insureds’; by failing to advise Plaintiff of the reasons
for not accepting or rejecting the claim; and by other wrongful conduct, Defendants have breached
their duty of good faith and fair dealing, Further, Defendants knew it had no reasonable basis for
its conduct or acted in reckless disregard of that fact.
27. As a direct and proximate result of Defendants’ breach of their duty of good faith and fair

dealing, PATEL has suffered general and special damages in an amount in excess of 810,000.

 

 

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28. As a result of the bad faith, PATEL has been required to retain an attorney and is entitled
to such attorney fees and costs.
29. By engaging in its bad faith conduct, Defendants have acted fraudulently, oppressively,
and iri malicious disregard for Plaintiffs rights. Therefore, PATEL seeks punitive damages by
way of punishment and deterrence in an amount to be determined at trial.
30. As a proximate cause and foreseeable result of ANPAC’s breaches, PATEL has suffered
general and special damages in excess of $10,000.
31. As a result of ANPAC’s breaches, PATEL has been required to retain an attorney and is
entitled to such attorney fees and costs.

THIRD CLAIM FOR RELIEF

(Violations of Nevada’s Unfair Claims Practices Act NRS §686A.310(e)

32. Plaintiff incorporates all previously alleged paragraphs as though alleged full herein.
33. Plaintiff filed his claim pursuant to the terms and conditions set forth the Home Owner
lnsurance policy.
34. Plaintiff provided a comprehensive list of all the items which were damaged and the
replacement costs.
35. Defendant ANPAC has failed to effectuate a prompt, fair and equitable settlement of
PATEL’s claim in which liability of ANPAC is reasonably clear.
36. By engaging in its bad faith conduct, ANPAC have acted fraudulently, oppressively, and
in malicious disregard for PATEL’s rights. Therefore, PATEL seeks punitive damages by way
of punishment and deterrence in an amount to be determined at trial.
37. As a proximate cause and foreseeable result of ANPAC’s bad faith, PATEL has suffered
general and special damages in excess of 810,000.
38. As a result of ANPAC’s tortious conduct, PATEL has been required to retain an attorney
and is entitled to such attorney fees and costs.

FOURTH CAUSE OF ACTION

(Intentional Refusal to Pay Insurance Benei“its)

39. Plaintiff incorporates all previously alleged paragraphs as though alleged full herein.

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40. PATEL made his payments in a timely manner pursuant to the terms and conditions of the
contract creating the existence of an insurer/insured relationship
41. PATEL made his premium payments with the reasonable expectation that those funds
would be deposited into a central fund upon which claims are paid upon demand.
42. ANPAC intentionally refused to pay on Mr. PATEL’s claim even when confronted with
overwhelming evidence to support that all the items contained in Exhibit "] " were damaged, and
that Mr. PATEL is entitled to loss of use damages.
43. As a proximate cause and foreseeable result of ANPAC’s intentional, malicious, willful,
wanton and reckless actions, PATEL has suffered general and punitive damages in excess of
S 10,000.
44. As a result of ANPAC’s reprehensible conduct, PATEL has been required to retain an
attorney and is entitled to such attorney fees and costs.
FIFTH CAUSE OF ACTION
(Declaratory Relief)
45. Plaintiff incorporates all previously alleged paragraphs as though alleged full herein.
46. That PATEL and ANPAC entered into a valid home owners’ insurance policy in which
ANPAC was to provide insurance for the PATEL’s property contained in the residence located at
5645 North Juliano Rd., Las Vegas, Nevada 89149.
47. PATEL paid his premiums pursuant to the policy and when it came time to make demand
against said policy, Defendant ANPAC acted in bad faith and denied the claim.
48. An actual controversy exists between the parties and it has become necessary of the
judicial determining to resolve this actual controversy.
WHEREFORE, Plaintiff prays for judgment against Defendant, and each of them as
follows:
l. For general damages against Defendants in excess of $10,000 in an amount to be
determined at trial;
2. For special damages against Defendants on excess of 810,000 in an amount to be

determined at trial;

 

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For punitive damages against Defendants iri an amount to be determined at trial ;

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For reasonable attorney’s fees according to proof;
F or Declaratory Relief; and
For interest and costs of the suit;

Dated this Eday of March, 2018.

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Case 2:18-cV-00667-GI\/|N-GWF Document 1-1 Filed 04/13/18 Page 9 of 14

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IN THE EIGHTH JUDICIAL DISTRICT COURT

MANISH PATEL, an individual

Plaintiff,

V.

AMERICAN NATIONAL PROPERTY AND
CASUALTY COMPANY, a Foreign Entity;

DOES 1 through 10; and ROE

CORPORATIONS 1 through 10, inclusive,

Defendant(s).

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Case N°': A-18-770401-c

Dept' NO': Department 16

 

 

INITIAL APPEARANCE FEE DISCLOSURE (NRS CHAPTER 19)
Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted
for parties appearing in the above entitled action as indicated below:

MANISH PATEL (Plaintiff`) ............................................. 8270.00

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Case Number: A-18-770401-C

Case 2:18-cV-00667-GI\/|N-GWF Document 1-1 Filed 04/13/18 Page 11 of 14

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Total .....................................

DATED this 1st day of March, 2018.

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WHITEHEAD & BURNETT

1 /s/Je}j"`White)"tead, Esq.

 

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SUMM

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Filed 04/13/18 Page 12 of 14

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IN THE EIGHTH JUDICIAL DISTRICT COURT

 

 

CLARK COUNTY NEVADA

MANISH PATEL, an individual Case No.: A_13_770401_C

Plaintiff, Dept. No.: D€partment 16
v.
AMERICAN NATIONAL PROPERTY AND
CASUALTY COMPANY, a Foreign Entity;
DOES 1 through 10; and ROE
CORPORATIONS l through 10, inclusive,

Defendant(s).

S`UMMONS

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
WITHOUT YOUR BEING HEARD UNLESS YOU FILE A RESPONSE WITH THE

COURT WITHIN 20 DAYS. READ THE INFORMATION BELOW CAREFULLY.

T0 the Defendant: AMERICAN NATIONAL PROPERTY AND CASUALTY COMPANY

A civil complaint has been filed by the Plaintiff against you. Plaintiff is seeking to

recover the relief requested in the complaint, which could include a money judgment against

you or some other form of relief.

Case Number: A-18-770401-C

 

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(not counting the day of service), you must:

If you intend to defend this lawsuit, within 20 days after this Suinmons is served on you

1. File with the Clerk of the Court, whose address is shown below, a formal written response

(typically a legal document called an “answer,” but potentially some other response) to

Plaintiff" s complaint,

. Pay the required filing fee to the court, or file an Application to Proceed ln Forma Pauperis

and request a waiver of the filing fee.

Serve (by mail or hand delivery) a copy of your response upon the Plaintiff whose name and
address is shown below.

If you fail to respond, the Plaintiff can request your default. The court can then enter judgment
against you for the relief demanded by the Plaintiff in the complaint, which could result in
money or property being taken from you or some other relief requested in Plaintiff’ s

complaint If you intend to seek an attomey’s advice, do it quickly so that your response can

be filed on time.

Issued at the request of

WHITEHEAD & BURNETT

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Atto)'neys for Manish Patel

 

Dated this 1_st_day of March, 2018.

STEVEN D. GRlERSON, CLERK OF COURT

 

 

Regional Justice Center 200 Lewis Avenue Las
Vegas, Nevada 89155

 

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Case 2:18-cV-00667-Gl\/|N-GWF Document 1-1 Filed 04/13/18 Page 14 of 14

AOS DlSTRlCT COURT , CLARK COUNTY
CLARK COUNTY, NEVADA

MAN|SH PATEL Plaintiff l
|
' CASE NO; A-18-770401-C
VS HEAR|NG DATE/TIME:
AMER|CAN NAT|ONAL PROPERTY AND Defendant n DEPT NO: 16
CASUALTY COMPANY

 

 

__AFF|DAV|T OF SERV|CE

PATR|CK J. PEREGR|N being duty sworn says: That at all times herein amant was and is a citizen of the
United States` over 18 years of age. not a party to or interested in the proceedings in which this affidavit is made.
That affiant received 1 copv(ies) of the SUMMONS, COMPLAlNT, |N|T|AL APPEARANCE FEE D|SCLOSURE,
on the 20th day of March, 2018 and served the same on the 22nd day of March, 2018, at 15:10 by:

serving the servee AMERlCAN NATlONAL PROPERTY AND CASUALTY COMPANY 010 REG|STERED
AGENT AGENCY SERVICES OF NEVADA by personally delivering and leaving a copy at (address} 245 E
LIBERTY ST, STE 200. RENO NEVADA 89501 with RITA COLFAX` AUTHOR\ZED TO ACCEF’T pursuant to
NRS 14.020 as a person of suitable age and discretion at the above address. which address is the address of the
resident agent as shown on the current certificate of designation filed with the Secretary of State.

PER RlTA, THEY ARE NOT THE REG\STERED AGENT; SHOWED NEVADA SECRETARY OF STATE PAGE
AND ACCEPTED SERV|CE

Pursuant to NRS 53.045

l declare under penalty of perjury under the law of the
State of Nevada that the foregoing is true and correct x `”'

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ExEcuTED this 22 day of Mar , 2018. ______ __ __ _ _ _ _ _1__
PATR|CK J. PEREGR|N

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